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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

L.A., a legally incapacitated Minor, by
and through his Mother and Next Friend — Civil No. 21-12050
KIERSTEN REESER, KIERSTEN

RESSER, individually, JEREMY Hon. Robert H. Cleland
ARMSTRONG, Individually, Mag. Judge David R. Grand
Plaintiffs,
V.

UNITED STATES OF AMERICA, and
W.A. FOOTE MEMORIAL HOSPITAL
a/k/a HENRY FORD ALLEGIANCE
HEALTH and CHARLES EDWARD
ROLLISON, D.O., and RONALD
NICHOLS, M.D., and ALMA GARLO,
M.D.

Defendant.
/

Declaration of Meritorious Defense
1. I, Joanne Kingsley, M.D., am employed as a physician specializing in
obstetrics and gynecology at the Center for Family Health. I am licensed to
practice medicine in the state of Michigan.
2. I entered progress notes for visits with Kiersten Reeser on April 15,

2019, May 31, 2019, and June 7, 2019.
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3. On April 15, 2019, Mrs. Reeser’s child’s estimated gestational age
was 31 weeks 2 days. Mrs. Reeser’s blood pressure was 135/81. An ultrasound
performed by maternal fetal medicine specialists showed normal size for
gestational age.

4, On May 31, 2019, Mrs. Reeser’s child’s estimated gestational age was
37 weeks, 6 days. Mrs. Reeser’s blood pressure was 131/80. She was already
scheduled for induction of labor at that time. She was to continue fetal non-stress
tests twice per week until delivery.

5. On June 7, 2019, Mrs. Reeser’s child’s estimated gestational age was
38 weeks, 6 days. Mrs. Reeser had been scheduled for induction of labor the
following Monday. Her blood pressure was 138/94 and 140/96 on a repeat test.
She had a fetal non-stress test scheduled at the Obstetrics Emergency Department
(OBED) that afternoon. Due to her blood pressure, I called OBED, told them that I
was doing preeclampsia labs, and asked them to check her blood pressure twice. If
her blood pressure remained elevated, I asked that OBED call the doctor on-call to
evaluate for delivery at that time.

6. My care of Kiersten Reeser met the standard of care for physicians in
my specialty and was not the cause of the alleged injuries to her or her child.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.
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Executed on | 16 [2 02 | Wate K Loyly

(date) oanne Kingsley
Jackson, Michigan

 
